                 Case 21-57413-jwc                      Doc 15        Filed 11/12/21 Entered 11/15/21 15:25:54                                 Desc Main
                                                                     Document      Page 1 of 35

Fill in this information to identify your case and this filing:                                                                 Bankruptcy Court
                                                                                                                  Filed in U.S.
                                                                                                                          Atlanta. Georgia
                                                                                                                                         Clerk
                                                                                                                     M. Regina Thomas,
Debtor 1             Rila!                                                  Rasheed
                     First Name                  Middle Name                Last Name
                                                                                                                           NOV 12 p21 _
Debtor 2
(Spouse, if firing) First Name                   Middle Name                Last Name

                                                                                                                     By:
United States Bankruptcy Court for the: Northern District of Georgia                                                        Deputy Clerk

Case number          21-57413-JWC
                                                                                                                                                0   Check if this is an
                                                                                                                                                    amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                          12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

         No. Go to Part 2.
         Yes. Where is the property?
                                                                     What is the property? Check all that apply.           Do not deduct secured claims or exemptions. Put
                                                                     LA Single-family home                                 the amount of any secured claims on Schedule D:
      1.1.     4523 Boxwood Trail                                                                                          Creditors Who Have Claims Secured by Property.
                                                                     U     Duplex or multi-unit building
             Street address, if available, or other description
                                                                     O     Condominium or cooperative                      Current value of the     Current value of the
                                                                     LI    Manufactured or mobile home                     entire property?         portion you own?
                                                                     U     Land                                            $      225,000.00        $     225,000.00
                                                                     U     Investment property
              Ellenwood                       GA        30294                                                              Describe the nature of your ownership
                                                                     O     Timeshare
              City                            State      ZIP Code                                                          interest (such as fee simple, tenancy by
                                                                     O     Other
                                                                                                                           the entireties, or a life estate), if known.
                                                                     Who has an interest in the property? Check one.

              Dekalb                                                 RI Debtor 1 only
              County                                                 0 Debtor 2 only
                                                                     0 Debtor 1 and Debtor 2 only                          0   Check if this is community property
                                                                                                                               (see instructions)
                                                                     D At least one of the debtors and another
                                                                     Other information you wish to add about this item, such as local
                                                                     property identification number:
    If you own or have more than one, list here:
                                                                    What is the property? Check all that apply.            Do not deduct secured claims or exemptions. Put
                                                                    O     Single-family home                               the amount of any secured claims on Schedule D:
      1.2                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                    U     Duplex or multi-unit building
              Street address, if available, or other description
                                                                    U Condominium or cooperative                            Current value of the     Current value of the
                                                                    O     Manufactured or mobile home                       entire property?         portion you own?
                                                                    D     Land
                                                                    U     Investment property
                                                                    U     Timeshare
                                                                                                                            Describe the nature of your ownership
              City                            State      ZIP Code                                                           interest (such as fee simple, tenancy by
                                                                    U     Other                                             the entireties, or a life estate), if known.
                                                                    Who has an interest in the property? Check one.
                                                                    0 Debtor 1 only
              County                                                D Debtor 2 only
                                                                    D Debtor 1 and Debtor 2 only                           GI Check if this is community property
                                                                    U At least one of the debtors and another                  (see instructions)

                                                                    Other information you wish to add about this item, such as local
                                                                    property identification number:


Official Form 106A/B                                                Schedule A/B: Property                                                                   page 1
              Case 21-57413-jwc                       Doc 15             Filed 11/12/21 Entered 11/15/21 15:25:54                                 Desc Main
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Debtor 1          Bilal                                  Rasheed                                         Case number (if known)   21-57413-JWC
                  First Name     Middle Name            Last Name




                                                                    What is the property? Check all that apply.              Do not deduct secured claims or exemptions. Put
                                                                         Single-family home                                  the amount of any secured claims on Schedule D:
                                                                    U
    1.3.                                                                                                                     Creditors Who Have Claims Secured by Property.
           Street address, if available, or other description       U Duplex or multi-unit building
                                                                                                                             Current value of the      Current value of the
                                                                    U Condominium or cooperative
                                                                                                                             entire property?          portion you own?
                                                                    U Manufactured or mobile home
                                                                    U Land
                                                                    U Investment property
                                                                                                                             Describe the nature of your ownership
           City                            State      ZIP Code      U     Timeshare
                                                                                                                             interest (such as fee simple, tenancy by
                                                                    U     Other                                              the entireties, or a life estate), if known.

                                                                    Who has an interest in the property? Check one.
                                                                    U Debtor 1 only
           County
                                                                    U Debtor 2 only
                                                                    U Debtor 1 and Debtor 2 only                                  Check if this is community property
                                                                                                                                  (see instructions)
                                                                    U At least one of the debtors and another

                                                                    Other information you wish to add about this item, such as local
                                                                    property identification number:


2 Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                             225,000.00
  you have attached for Part 1. Write that number here.




grzi          Describe Your Vehicles



Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   U No
   U Yes


    3.1.   Make:                         Mercedes                   Who has an interest in the property? Check one.           Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
           Model:                        ML500                      U Debtor 1 only                                           Creditors Who Have Claims Secured by Property.
                                                                    U Debtor 2 only
           Year:                         2003                                                                                 Current value of the      Current value of the
                                                                    U Debtor 1 and Debtor 2 only
                                         228000                                                                               entire property?          portion you own?
           Approximate mileage:                                     U At least one of the debtors and another
           Other information:                                                                                                                           $         2,500.00
                                                                                                                                        2,500.00
                                                                     U Check if this is community property (see
                                                                       instructions)



   If you own or have more than one, describe here:

           Make:                                                    Who has an interest in the property? Check one.           Do not deduct secured claims or exemptions. Put
    3.2.
                                                                                                                              the amount of any secured claims on Schedule D:
                                                                    U Debtor 1 only                                           Creditors Who Have Claims Secured by Property.
           Model:
                                                                    U Debtor 2 only
           Year:                                                                                                              Current value of the      Current value of the
                                                                    U Debtor 1 and Debtor 2 only
                                                                                                                              entire property?          portion you own?
           Approximate mileage:                                      U At least one of the debtors and another
           Other information:
                                                                     U Check if this is community property (see
                                                                       instructions)




 Official Form 106A/B                                                   Schedule A/B: Property                                                                  page 2
              Case 21-57413-jwc               Doc 15             Filed 11/12/21 Entered 11/15/21 15:25:54                                    Desc Main
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Debtor 1        Rilal                               Rasher:1d                                       Case number (if known)   21-57413-JWC
               First Name       Middle Name        Last Name




                                                               Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
    3.3.   Make:
                                                                                                                        the amount of any secured claims on Schedule D:
                                                               U Debtor 1 only                                          Creditors Who Have Claims Secured by Property.
           Model:
                                                               U Debtor 2 only
           Year:                                                                                                        Current value of the      Current value of the
                                                               U Debtor 1 and Debtor 2 only
                                                                                                                        entire property?          portion you own?
           Approximate mileage:                                U At least one of the debtors and another
           Other information:
                                                               U Check if this is community property (see
                                                                 instructions)


                                                               Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
    3.4.   Make:
                                                                                                                        the amount of any secured claims on Schedule D:
                                                               U Debtor 1 only                                          Creditors Who Have Claims Secured by Property.
           Model:
                                                               LI Debtor 2 only
           Year:                                                                                                        Current value of the      Current value of the
                                                               U Debtor 1 and Debtor 2 only
                                                                                                                        entire property?          portion you own?
           Approximate mileage:                                U At least one of the debtors and another
           Other information:
                                                               U Check if this is community property (see
                                                                 instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
    IA No
    LI Yes


                                                               Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
    4.1.   Make:
                                                                                                                        the amount of any secured claims on Schedule D:
                                                               U Debtor 1 only                                          Creditors Who Have Claims Secured by Property.
           Model:
                                                               U Debtor 2 only
           Year:
                                                               U Debtor 1 and Debtor 2 only                              Current value of the     Current value of the
           Other information:                                  U At least one of the debtors and another                 entire property?         portion you own?


                                                               U Check if this is community property (see
                                                                 instructions)



    If you own or have more than one, list here:
                                                               Who has an interest in the property? Check one.           Do not deduct secured claims or exemptions. Put
    4.2.   Make:
                                                                                                                         the amount of any secured claims on Schedule D:
                                                               U Debtor 1 only                                           Creditors Who Have Claims Secured by Property.
           Model:
                                                               U Debtor 2 only
            Year:                                                                                                        Current value of the      Current value of the
                                                               U Debtor 1 and Debtor 2 only                                                        portion you own?
                                                                                                                         entire property?
           Other information:                                  U At least one of the debtors and another


                                                               U Check if this is community property (see
                                                                 instructions)




5   Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                         2,500.00
    you have attached for Part 2. Write that number here




 Official Form 106A/B                                           Schedule A/B: Property                                                                     page 3
                Case 21-57413-jwc                Doc 15        Filed 11/12/21 Entered 11/15/21 15:25:54                            Desc Main
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  Debtor 1       Bilal                             Rasheed                                        Case number (if known) 21-57413-JWC
                 First Name    Middle Name        Last Name




 Part 3:     Describe Your Personal and Household Items

                                                                                                                                  Current value of the
 Do you own or have any legal or equitable interest in any of the following items?                                                portion you own?
                                                                                                                                  Do not deduct secured claims
                                                                                                                                  or exemptions.

, 6. Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware
     El No
     O Yes. Describe                                                                                                                                 500.00
                               furniture and appliances
  7. Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
               collections; electronic devices including cell phones, cameras, media players, games
     La No
     O Yes. Describe                                                                                                                                 120.00
                               phone, TV and computer
  8. Collectibles of value
     Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
               stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
     O No
     O Yes. Describe


  9. Equipment for sports and hobbies
     Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
               and kayaks; carpentry tools; musical instruments
     O No
     CI Yes. Describe

  10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
     O No
     O Yes. Describe

  11. Clothes
     Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
     LI No
     O Yes. Describe                                                                                                                                 200.00
                              [Clothes

  12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
               gold, silver
      O No
      O Yes. Describe

  13. Non-farm animals
     Examples: Dogs, cats, birds, horses

      O No
      O Yes. Describe


  14.Any other personal and household items you did not already list, including any health aids you did not list

      O No
      0 Yes. Give specific     [
        information.                                                                                                                $

  15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                      820.00
      for Part 3. Write that number here



   Official Form 106A/B                                       Schedule NB: Property                                                              page 4
            Case 21-57413-jwc                   Doc 15         Filed 11/12/21 Entered 11/15/21 15:25:54                             Desc Main
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Debtor 1      Rita!                                Rasheeri                                   Case number (if known) 21-57413-JWC
               First Name    Middle Name          Last Name




Part 4:     Describe Your Financial Assets


Do you own or have any legal or equitable interest in any of the following?                                                         Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured claims
                                                                                                                                    or exemptions.

16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

   0   No
   U Yes                                                                                                     Cash:



17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
              and other similar institutions. If you have multiple accounts with the same institution, list each.

   U   No
   O Yes                                                      Institution name:


                             17.1. Checking account:           USAA                                                                                  200.00

                             17.2. Checking account:

                             17.3. Savings account:

                             17.4. Sayings account:

                             17.5. Certificates of deposit:

                             17.6. Other financial account:

                             17.7. Other financial account:

                             17.8. Other financial account:

                             17.9. Other financial account:




18. Bonds, mutual funds, or publicly traded stocks
   Examples: Bond funds, investment accounts with brokerage firms, money market accounts
   O No
   U Yes                      Institution or issuer name:




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
    an LLC, partnership, and joint venture

   121 No                     Name of entity:                                                                % of ownership:
    U Yes. Give specific
      information about
      them




 Official Form 106NB                                          Schedule A/B: Property                                                              page 5
            Case 21-57413-jwc                     Doc 15          Filed 11/12/21 Entered 11/15/21 15:25:54                        Desc Main
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Debtor 1      iRiIl                                    Rasheed                                 Case number (if known)   21-57413-JWC
              First Name    Middle Name            Last Name




20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

   0   No
   U Yes. Give specific      Issuer name:
     information about
     them




21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

   O No
   U Yes. List each
     account separately.     Type of account:           Institution name:

                             401(k) or similar plan:

                             Pension plan:

                             IRA:

                             Retirement account:

                             Keogh:

                             Additional account:

                             Additional account:



22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

   O No

   U Yes                                           Institution name or individual:

                             Electric:

                              Gas:

                              Heating oil:

                              Security deposit on rental unit:

                              Prepaid rent:

                              Telephone:

                              Water:

                              Rented furniture:

                              Other:



23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

   O No

   U Yes                       Issuer name and description:




 Official Form 106A/B                                            Schedule A/B: Property                                                  page 6
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Debtor 1      Bilal                               Rasheed                                        Case number Of known) 21-57413-JWC
              First Name     Middle Name          Last Name




24 Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   la No
   U Yes                              Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):




25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
    exercisable for your benefit

   la No
   U Yes. Give specific
     information about them....


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   la No
   U Yes. Give specific
     information about them....


27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   la No
   U Yes. Give specific
     information about them....


Money or property owed to you?                                                                                                             Current value of the
                                                                                                                                           portion you own?
                                                                                                                                           Do not deduct secured
                                                                                                                                           claims or exemptions.

28. Tax refunds owed to you
   la No
   U Yes. Give specific information                                                                              Federal:
          about them, including whether
          you already filed the returns                                                                          State:
          and the tax years.
                                                                                                                 Local:


29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   •   No
   U Yes. Give specific information
                                                                                                                 Alimony:
                                                                                                                 Maintenance:
                                                                                                                 Support:
                                                                                                                 Divorce settlement:
                                                                                                                 Property settlement:

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation,
              Social Security benefits; unpaid loans you made to someone else
   la No
   U Yes. Give specific information




 Official Form 106A/B                                         Schedule A/B: Property                                                                 page 7
              Case 21-57413-jwc                    Doc 15          Filed 11/12/21 Entered 11/15/21 15:25:54                                        Desc Main
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Debtor 1        Rill                                  Rasheed                                           Case number (if known)   21-57413-JWC
                First Name       Middle Name         Last Name




31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance

   •    No
   U Yes. Name the insurance company            Company name:                                              Beneficiary:                             Surrender or refund value:
          of each policy and list its value....




32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
    property because someone has died.
   •    No
   U Yes. Give specific information



33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
   •    No
   U Yes. Describe each claim.


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
    to set off claims
   •    No
   U Yes. Describe each claim.




35. Any financial assets you did not already list

   •    No
   U Yes. Give specific information



36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here
                                                                                                                                                                     200.00




Part 5:       Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.


37. Do you own or have any legal or equitable interest in any business-related property?
    ca No. Go to Part 6.
   U Yes. Go to line 38.
                                                                                                                                                   Current value of the
                                                                                                                                                   portion you own?
                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                   or exemptions.

38. Accounts receivable or commissions you already earned
    •   No
   U Yes. Describe


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
    •   No
   U Yes. Describe           E




Official Form 106A/B                                             Schedule A/B: Property                                                                         page 8
               Case 21-57413-jwc                  Doc 15       Filed 11/12/21 Entered 11/15/21 15:25:54                         Desc Main
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  Debtor 1        Rilal                            Rasheed                                 Case number (if known)   21-57413-JWC
                  First Name    Middle Name       Last Name




 40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

          No
     U Yes. Describe



' 41. Inventory
       61 No
     U Yes. Describe



 42. Interests in partnerships or joint ventures
     al No
     O Yes. Describe            Name of entity:                                                               % of ownership:




  43. Customer lists, mailing lists, or other compilations
      lj No
      O Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
               U No
               CI   Yes. Describe.



  44. Any business-related property you did not already list
      • No
      CI Yes. Give specific
         information




  45 Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                       0.00
     for Part 5. Write that number here                                                                                    4


  Part 6:      Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
               If you own or have an interest in farmland, list it in Part 1.


  46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
     •    No. Go to Part 7.
     CI   Yes. Go to line 47.
                                                                                                                                Current value of the
                                                                                                                                portion you own?
                                                                                                                                Do not deduct secured claims
                                                                                                                                or exemptions.
  47. Farm animals
     Examples: Livestock, poultry, farm-raised fish
     Ul No
     U Yes




   Official Form 106A/I3                                      Schedule A/B: Property                                                         page 9
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  Debtor 1      Rill                            Rasheed                                    Case number (if known)   21-57413-JWC
                 First Name     Middle Name     Last Name




 48. Crops—either growing or harvested

     121 No
     U Yes. Give specific
         information.

 49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
     W1 No
     U Yes



 50. Farm and fishing supplies, chemicals, and feed

     121 No
     U Yes



 51. Any farm- and commercial fishing-related property you did not already list
     W1 No
     U Yes. Give specific
       information.

 52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                                 0.00
     for Part 6. Write that number here



 Part 7:       Describe All Property You Own or Have an Interest in That You Did Not List Above


 53. Do you have other property of any kind you did not already list?
     Examples: Season tickets, country club membership

     121 No
     U Yes. Give specific
       information.




 54 Add the dollar value of all of your entries from Part 7. Write that number here                                       4                    0.00



 Part 8:       List the Totals of Each Part of this Form


' 55. Part 1: Total real estate, line 2                                                                                       4   $    225,000.00

 56.Part 2: Total vehicles, line 5                                                2,500.00

 57.Part 3: Total personal and household items, line 15                               820.00

 58.Part 4: Total financial assets, line 36                                           200.00

                                                                                        0.00
 59.Part 5: Total business-related property, line 45

                                                                                        0.00
 60.Part 6: Total farm- and fishing-related property, line 52

 61.Part 7: Total other property not listed, line 54                     $              0.00


 62.Total personal property. Add lines 56 through 61.                             3,520.00     Copy personal property total        $      3,520.00
                                                                       [ $


 63.Total of all property on Schedule A/B. Add line 55 + line 62
                                                                                                                                        228,520.00



  Official Form 106A/B                                      Schedule A/13: Property                                                       page 10
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 Fill in this information to identify your case:

 Debtor 1          Bilal                                              Rasheed
                    First Name                 Middle Name              Last Name

 Debtor 2
 (Spouse, if filing) First Name                Middle Name              Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number         21-57413-JWC                                                                                                       CI Check if this is an
  (If known)
                                                                                                                                            amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                          04/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Properly (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Part 1:         Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      Er You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      0 You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on         Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
       Schedule NB that lists this property                  portion you own
                                                             Copy the value from    Check only one box for each exemption.
                                                             Schedule NB

      Brief
      description:                Single Family Home         $ 225,000.00           1:1 $ 22,500.00
      Line from
                                                                                    El 100% of fair market value, up to
                                  1.1                                                  any applicable statutory limit
      Schedule A/B:

      Brief
      description:                Clothes                    $ 200.00               1:1 $ 200.00
      Line from
                                                                                    id 100% of fair market value, up to
                                  11                                                    any applicable statutory limit
      Schedule NB:

      Brief
      description:
                                  2003 Mercedes              $ 2,500.00             1:1 $ 2,500.00
      Line from
                                                                                    ia 100% of fair market value, up to
                                                                                        any applicable statutory limit
      Schedule A/B:               3.1

 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

      Er No
      CI   Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                  No
           0       Yes



Official Form 106C                                           Schedule C: The Property You Claim as Exempt                                         page 1 of
            Case 21-57413-jwc                 Doc 15        Filed 11/12/21 Entered 11/15/21 15:25:54                                Desc Main
                                                           Document      Page 12 of 35
Debtor 1      Bilal                                             Rasheed                       Case number (if known)   21-57413-JWC
              First Name        Middle Name    Last Name




 Part 2:     Additional Page

      Brief description of the property and line       Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
      on Schedule A/B that lists this property         portion you own
                                                       Copy the value from    Check only one box for each exemption
                                                       Schedule NB

     Brief
     description:
                           Electronics                             120 00     id $        120.00
                                                                              O 100% of fair market value, up to
     Line from             7
     Schedule A/B:                                                              any applicable statutory limit

     Brief
     description:          furniture                               500.00     if $         500.00
                                                                              O 100% of fair market value, up to
     Line from
     Schedule A/B:
                           6                                                    any applicable statutory limit


     Brief                 Checking Account                        200.00     zi $         200.00
     description:
                                                                              kr 100% of fair market value, up to
     Line from             17
     Schedule A/B:                                                               any applicable statutory limit

     Brief
     description:                                                                  $

     Line from
                                                                              CI 100% of fair market value, up to
     Schedule A/B:                                                                 any applicable statutory limit

     Brief
     description:                                                                  $
                                                                              •    100% of fair market value, up to
     Line from
     Schedule A/B.                                                                 any applicable statutory limit


     Brief
     description:                                                                  $
                                                                              O 100% of fair market value, up to
      Line from
      Schedule A/B:                                                             any applicable statutory limit

      Brief
      description:                                                                Us
                                                                               O 100% of fair market value, up to
      Line from
      Schedule A/B:                                                              any applicable statutory limit

      Brief
      description:                                                                 $
                                                                               O 100% of fair market value, up to
      Line from
      Schedule A/B.                                                              any applicable statutory limit


      Brief
      description:                                                                 $
                                                                               O 100% of fair market value, up to
      Line from
      Schedule A/B:                                                              any applicable statutory limit

      Brief
      description:                                                                 $
                                                                               O 100% of fair market value, up to
      Line from
      Schedule A/B:                                                              any applicable statutory limit

      Brief
      description:                                                                 $
                                                                               O 100% of fair market value, up to
      Line from
      Schedule NB.                                                               any applicable statutory limit


      Brief
      description:                                                               $
                                                                               O 100% of fair market value, up to
      Line from
      Schedule A/B:                                                              any applicable statutory limit



Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                         page   2   of
                  Case 21-57413-jwc                      Doc 15         Filed 11/12/21 Entered 11/15/21 15:25:54                                  Desc Main
                                                                       Document      Page 13 of 35

Fill in this information to identify your case:


Debtor 1            Bilal                                           Rasheed
                    First Name                    Middle Name                 Last Name

Debtor 2
(Spouse, if filing) First Name                    Middle Name                 Last Name


United States Bankruptcy Court for the: Northern District of Georgia

 Case number         21-57413-JWC
 (If known)                                                                                                                                        U   Check if this is an
                                                                                                                                                       amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                          12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).


1. Do any creditors have claims secured by your property?
      CI     No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      121 Yes. Fill in all of the information below.


Part 1:          List All Secured Claims
                                                                                                         Column A                           Column B              Column C
12.List all secured claims. If a creditor has more than one secured claim, list the creditor separately Amount of claim                     Value of collateral   Unsecured
   for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. Do not deduct the                  that supports this    portion
   As much as possible, list the claims in alphabetical order according to the creditor's name.          value of collateral.               claim                 If any

2.1                                                         Describe the property that secures the claim:                      186,000.00 $      225,000.00 $           0.00
       Mr.Cooper
      Creditor's Name

       8950 Cypress Waters Blvd                            Single Family Home
      Number            Street

                                                            As of the date you file, the claim is: Check all that apply.
                                                            O Contingent
       Coppell                       TX      75019            Unliquidated
      City                           State   ZIP Code
                                                            O Disputed
  Who owes the debt? Check one.                             Nature of lien. Check all that apply.
    Debtor 1 only                                           O An agreement you made (such as mortgage or secured
  O Debtor 2 only                                             car loan)
  O Debtor 1 and Debtor 2 only                              O Statutory lien (such as tax lien, mechanic's lien)
  O At least one of the debtors and another                 O Judgment lien from a lawsuit
                                                              Other (including a right to offset)
  O Check if this claim relates to a
    community debt
  Date debt was incurred                                    Last 4 digits of account number
2.2
                                                            Describe the property that secures the claim:
      Creditor's Name


      Number            Street

                                                            As of the date you file, the claim is: Check all that apply.
                                                            O Contingent
                                                            •  Unliquidated
                                             ZIP Code
      City                           State                  CI Disputed
  Who owes the debt? Check one.                             Nature of lien. Check all that apply.
  O        Debtor 1 only                                    O An agreement you made (such as mortgage or secured
  O        Debtor 2 only                                      car loan)
  O        Debtor 1 and Debtor 2 only                       O Statutory lien (such as tax lien, mechanic's lien)
  O        At least one of the debtors and another          O Judgment lien from a lawsuit
                                                            O Other (including a right to offset)
  O Check if this claim relates to a
    community debt
  Date debt was incurred                                    Last 4 digits of account number
       Add the dollar value of your entries in Column A on this page. Write that number here:                              $   186,000.00

 Official Form 106D                                  Schedule D: Creditors Who Have Claims Secured by Property                                            page 1 of 1
                     Case 21-57413-jwc                  Doc 15      Filed 11/12/21 Entered 11/15/21 15:25:54                                    Desc Main
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  Fill in this information to identify your case:

  Debtor 1              Bilal                                    Rasheed
                         First Name               Middle Name               Last Name

  Debtor 2
  (Spouse, if filing) First Name                  Middle Name               Last Name


  United States Bankruptcy Court for the: Northern District of Georgia
                                                                                                                                                     Check if this is an
  Case number            21-57413-JWC
      (If known)
                                                                                                                                                     amended filing



Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
NB: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

 Part 1:             List All of Your PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims against you?
        0     No. Go to Part 2.
        1:1 Yes.
 2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
        each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
        nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
        unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
        (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                  Total claim   Priority        Nonpriority
                                                                                                                                                amount          amount
2.1
                                                                   Last 4 digits of account number                            $
            Priority Creditor's Name
                                                                   When was the debt incurred?
            Number          Street

                                                                   As of the date you file, the claim is: Check all that apply.
                                                                   O Contingent
            City                          State    ZIP Code
                                                                   • Unliquidated
            Who incurred the debt? Check one.                      O Disputed
            O Debtor 1 only
            O Debtor 2 only                                        Type of PRIORITY unsecured claim:
            O Debtor 1 and Debtor 2 only                           O Domestic support obligations
            0 At least one of the debtors and another              O Taxes and certain other debts you owe the government
            O Check if this claim is for a community debt          O Claims for death or personal injury while you were
            Is the claim subject to offset?                          intoxicated
            O No                                                   CI   Other. Specify
            O Yes

                                                                   Last 4 digits of account number                                $
            Priority Creditor's Name
                                                                   When was the debt incurred?
            Number          Street
                                                                   As of the date you file, the claim is: Check all that apply.
                                                                   O Contingent
            City                          State    ZIP Code        • Unliquidated
            Who incurred the debt? Check one.                      O Disputed
            O Debtor 1 only
                                                                   Type of PRIORITY unsecured claim:
            O Debtor 2 only
                                                                   O Domestic support obligations
            O Debtor 1 and Debtor 2 only
                                                                   O Taxes and certain Other debts you owe the government
            O At least one of the debtors and another
                                                                   O Claims for death or personal injury while you were
            O Check if this claim is for a community debt            intoxicated
            Is the claim subject to offset?                        O Other. Specify
            1:1 No
            O Yes


Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                              page 1 of
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 Debtor 1        Bilal                             Rasheed Document      Page 15 of 35
                                                                                 Case number (if known) 21-57413-JWC
                First Name      Middle Name         Last Name

 Part 1:       Your PRIORITY Unsecured Claims — Continuation Page

 After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.                        Total claim   Priority   Nonprlority
                                                                                                                                             amount     amount

2.3
                                                                Last 4 digits of account number
      Priority Creditors Name

                                                                When was the debt incurred?
      Number         Street

                                                                As of the date you file, the claim is: Check all that apply.

                                                                U   Contingent
      City                            State    ZIP Code         U   Unliquidated
                                                                U   Disputed
      Who incurred the debt? Check one.
      U Debtor 1 only                                           Type of PRIORITY unsecured claim:
      U Debtor 2 only
                                                                U   Domestic support obligations
      U Debtor 1 and Debtor 2 only
                                                                U   Taxes and certain other debts you owe the government
      U At least one of the debtors and another
                                                                U   Claims for death or personal injury while you were
                                                                    intoxicated
      U Check if this claim is for a community debt
                                                                U   Other. Specify

      Is the claim subject to offset?
      U No
      U Yes


                                                                Last 4 digits of account number
      Priority Creditors Name

                                                                When was the debt incurred?
      Number          Street

                                                                As of the date you file, the claim is: Check all that apply.

                                                                U Contingent
      City                            State    ZIP Code         U   Unliquidated
                                                                U Disputed
      Who incurred the debt? Check one.
      U Debtor 1 only                                           Type of PRIORITY unsecured claim:
      U Debtor 2 only
                                                                U   Domestic support obligations
      U Debtor 1 and Debtor 2 only
                                                                U   Taxes and certain other debts you owe the government
      U At least one of the debtors and another
                                                                U   Claims for death or personal injury while you were
                                                                    intoxicated
       U Check if this claim is for a community debt
                                                                U   Other. Specify

      Is the claim subject to offset?
      U No
      U Yes
2.5

                                                                Last 4 digits of account number
      Priority Creditors Name

                                                                When was the debt incurred?
      Number          Street

                                                                As of the date you file, the claim is: Check all that apply.

                                                                U   Contingent
       City                            State   ZIP Code         U   Unliquidated
                                                                U   Disputed
      Who incurred the debt? Check one.
      U Debtor 1 only                                           Type of PRIORITY unsecured claim:
      U Debtor 2 only
                                                                U   Domestic support obligations
      U Debtor 1 and Debtor 2 only
                                                                U   Taxes and certain other debts you owe the government
      U At least one of the debtors and another
                                                                U   Claims for death or personal injury while you were
                                                                    intoxicated
       U Check If this claim is for a community debt
                                                                U   Other. Specify

      Is the claim subject to offset?
      U No
      U Yes


Official Form 106E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                 page   2 of
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 Debtor 1              Bilal                                 Rasheed      Document      Page 16 of 35
                                                                                                Case number (if known) 21-57413-JWC
                      First Name        Middle Name          Last Name


 Part 2:            List All of Your NONPRIORITY Unsecured Claims

 3. Do any creditors have nonpriority unsecured claims against you?
              No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      U       Yes

 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                           Total claim

                                                                                     Last 4 digits of account number
          Nonpriority Creditor's Name
                                                                                     When was the debt incurred?
          Number           Street


          City                                             State         ZIP Code    As of the date you file, the claim is: Check all that apply.

                                                                                     U Contingent
          Who incurred the debt? Check one.                                          • Unliquidated
          • Debtor 1 only                                                            U Disputed
          U Debtor 2 only
          U Debtor 1 and Debtor 2 only                                               Type of NONPRIORITY unsecured claim:
          U At least one of the debtors and another                                  U Student loans
          U Check if this claim is for a community debt                              U Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
          Is the claim subject to offset?                                            U Debts to pension or profit-sharing plans, and other similar debts
          U No                                                                       U Other. Specify
          U Yes

4.2                                                                                  Last 4 digits of account number
          Nonpriority Creditor's Name                                                When was the debt incurred?


          Number            Street
                                                                                     As of the date you file, the claim is: Check all that apply.
          City                                             State         ZIP Code
                                                                                     U Contingent
          Who incurred the debt? Check one.                                          • Unliquidated
                                                                                     U Disputed
          U      Debtor 1 only
          U      Debtor 2 only
                                                                                     Type of NONPRIORITY unsecured claim:
          U      Debtor 1 and Debtor 2 only
          U      At least one of the debtors and another                             U Student loans
                                                                                     U Obligations arising out of a separation agreement or divorce
          U Check if this claim is for a community debt                                that you did not report as priority claims
          Is the claim subject to offset?                                            U Debts to pension or profit-sharing plans, and other similar debts
          ▪ No                                                                       U Other. Specify
          U Yes

4.3
                                                                                     Last 4 digits of account number
          Nonpriority Creditor's Name
                                                                                                                          —    —     —    —
                                                                                     When was the debt incurred?

          Number            Street

                                                                                     As of the date you file, the claim is: Check all that apply.
          City                                             State         ZIP Code

                                                                                     U Contingent
          Who incurred the debt? Check one.
                                                                                     • Unliquidated
          U Debtor 1 only
                                                                                     U Disputed
          U Debtor 2 only
          U Debtor 1 and Debtor 2 only                                               Type of NONPRIORITY unsecured claim:
          U At least one of the debtors and another
                                                                                     U Student loans
          U Check if this claim is for a community debt                              U Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
          Is the claim subject to offset?
                                                                                     U Debts to pension or profit-sharing plans, and other similar debts
          U No
                                                                                     U Other. Specify
          U Yes



Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                                page3    of
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Debtor 1       Rill                             Rasheed       Document      Page 17 of 35
                                                                                    Case number of known) 21-57413-JWC
               First Name    Middle Name         Last Name



Part 4:    Add the Amounts for Each Type of Unsecured Claim


S. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
   Add the amounts for each type of unsecured claim.




                                                                                          Total claim



Total claims
                6a. Domestic support obligations                                 6a.                          0.00
from Part 1
                6b. Taxes and certain other debts you owe the
                    government                                                   6b.                          0.00
                6c.Claims for death or personal injury while you were
                   intoxicated                                                   6c.                          0.00

                6d. Other. Add all other priority unsecured claims.
                    Write that amount here.                                      6d.    + $                   0.00


                6e. Total. Add lines 6a through 6d.                              6e.
                                                                                                              0.00
                                                                                        L $

                                                                                          Total claim

                6f. Student loans                                                6f.                          0.00
Total claims
from Part 2
                6g. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                    claims                                                       6g.                          0.00

                6h. Debts to pension or profit-sharing plans, and other
                    similar debts                                                 6h.                         0.00


                6i. Other. Add all other nonpriority unsecured claims.
                    Write that amount here.                                       6i.   -I- $                 0.00


                6j. Total. Add lines 6f through 6i.                               6j.
                                                                                                              0.00




Official Form 106E/F                                  Schsclu,l.a,gigi,c,rtlitprLs.,NagAugMn§a,cured Claims                            page   of
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 Fill in this information to identify your case:


 Debtor               Bilal                                     Rasheed
                      First Name              Middle Name               Last Name

 Debtor 2
 (Spouse If filing)   First Name              Middle Name               Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number           21-57413-JWC
 (If known)                                                                                                                               U   Check if this is an
                                                                                                                                              amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                   12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
      Wi No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
      U      Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.



      Person or company with whom you have the contract or lease                                 State what the contract or lease is for


2.1

      Name

      Number             Street

      City                                State      ZIP Code

2.2
      Name

      Number             Street

      City _                              State      ZIP Code
2.3

      Name

      Number             Street

      City                                State      ZIP Code

2.4
      Name

      Number             Street

      City                                State      ZIP Code

2.5
      Name

      Number             Street

      City                                State      ZIP Code


Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                           page 1 of 1
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 Debtor 1         Bilal                                 Rasheed                                  Case number ork.) 21-57413-JWC
                 First Name     Middle Name              Last Name




                 Additional Page if You Have More Contracts or Leases

        Person or company with whom you have the contract or lease                            What the contract or lease is for

 2._

        Name

        Number        Street

        City                                  State     ZIP Code

 2._

        Name

        Number         Street

        City                                  State     ZIP Code

 2._

        Name

        Number         Street

        City                                  State     ZIP Code

  2._

        Name

        Number         Street

        City                                  State      ZIP Code

  2._

        Name

        Number         Street

        City                                  State      ZIP Code

  2._

        Name

        Number         Street

        City                                  State      ZIP Code

  2._
        Name

        Number         Street

        City                                  State      ZIP Code

  2._

        Name

        Number         Street

        City                                  State      ZIP Code



Official Form 106G                                    Schedule G: Executory Contracts and Unexpired Leases                            page    of
                Case 21-57413-jwc                        Doc 15               Filed 11/12/21 Entered 11/15/21 15:25:54                           Desc Main
                                                                             Document      Page 20 of 35
 Fill in this information to identify your case:

 Debtor 1           Bilal                                                 Rasheed
                    First Name                      Middle Name                   Last Name

 Debtor 2
 (Spouse, if filing) First Name                     Middle Name                   Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number         21-57413-JWC
  (If known)
                                                                                                                                                  D Check if this is an
                                                                                                                                                      amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                         12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      WI No
           Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
    Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
           No. Go to line 3.
      U Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
           U No
                 Yes. In which community state or territory did you live?                                 . Fill in the name and current address of that person.



                 Name of your spouse, former spouse, or legal equivalent



                 Number              Street



                 City                                             State                       ZIP Code


 3 In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
    shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
    Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
    Schedule E/F, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                                   Column 2: The creditor to whom you owe the debt

                                                                                                                  Check all schedules that apply:
3.1
                                                                                                                   U   Schedule D, line
         Name
                                                                                                                   U   Schedule E/F, line
         Number             Street                                                                                 U Schedule G, line

         City                                                        State                     ZIP Code

3.2
                                                                                                                   0   Schedule D, line
         Name
                                                                                                                   U Schedule E/F, line
         Number             Street                                                                                     Schedule G, line

         City                                                        State                     ZIP Code

3.3
                                                                                                                   El Schedule D, line
         Name
                                                                                                                   0   Schedule E/F, line
         Number             Street                                                                                 U Schedule G, line

         City                                                        State                     ZIP Code




Official Form 106H                                                             Schedule H: Your Codebtors                                                page 1 of 1
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                                                                 Document      Page 21 of 35
 Debtor 1        Bilal                            Rasheed                                     Case number (if known)   21-57413-JWC
                 First   Name       Middle Name    Last Name



                 Additional Page to List More Codebtors

      Column 1: Your codebtor                                                                       Column 2: The creditor to whom you owe the debt

                                                                                                     Check all schedules that apply:

                                                                                                     U Schedule D, line
       Name
                                                                                                     U Schedule E/F, line

       Number             Street                                                                     U Schedule G, line


       City                                             State                    ZIP Code


                                                                                                     U Schedule D, line
       Name
                                                                                                     O Schedule E/F, line

       Number             Street                                                                      U Schedule G, line


       City                                             State                    ZIP Code


                                                                                                     U Schedule D, line
       Name
                                                                                                      U Schedule E/F, line

       Number              Street                                                                     U Schedule G, line


       City                                              State                   ZIP Code



                                                                                                      U Schedule D, line
       Name
                                                                                                      U Schedule E/F, line

       Number              Street                                                                     U Schedule G, line


       City                                              State                   ZIP Code


                                                                                                      U Schedule D, line
       Name
                                                                                                      O Schedule E/F, line

       Number              Street                                                                     U Schedule G, line


       City                                              State                   ZIP Code


                                                                                                      U Schedule D, line
       Name
                                                                                                      U Schedule E/F, line

       Number              Street                                                                     •    Schedule G, line


                                                         State                   ZIP Code


                                                                                                      U Schedule D, line
        Name
                                                                                                      U Schedule E/F, line

        Number             Street                                                                     U Schedule G, line


                                                         State                   ZIP Code


                                                                                                      •    Schedule D, line
        Name
                                                                                                      Cl Schedule E/F, line

        Number             Street                                                                     U Schedule G, line


        City                                             State                   ZIP Code




Official Form 106H                                               Schedule H: Your Codebtors                                            page    of
               Case 21-57413-jwc                Doc 15        Filed 11/12/21 Entered 11/15/21 15:25:54                                   Desc Main
                                                             Document      Page 22 of 35

 Fill in this information to identify your case:


 Debtor 1               lal                                 Rasheed
                     First Name            Middle Name                  Last Name

 Debtor 2
 (Spouse, if filing) First Name            Middle Name                  Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number          21-57413-JWC                                                                      Check if this is:
  (If known)
                                                                                                        U An amended filing
                                                                                                        U A supplement showing postpetition chapter 13
                                                                                                          income as of the following date:
Official Form 1061                                                                                            MM / DD / YYYY

Schedule I: Your Income                                                                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:           Describe Employment


    Fill in your employment
    information.                                                              Debtor 1                                   Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with
    information about additional        Employment status                  U Employed                                    U Employed
    employers.                                                               Not employed                                U Not employed

    Include part-time, seasonal, or
    self-employed work.
                                         Occupation
    Occupation may include student
    or homemaker, if it applies.
                                        Employer's name


                                         Employer's address
                                                                           Number Street                               Number   Street




                                                                           City            State   ZIP Code            City                 State ZIP Code

                                         How long employed there?


                   Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                   For Debtor 1        For Debtor 2 or
                                                                                                                       non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions). If not paid monthly, calculate what the monthly wage would be.             2.                0.00

 3. Estimate and list monthly overtime pay.                                                 3. +$
                                                                                                                            $

 4. Calculate gross income. Add line 2 + line 3.                                            4.                0.00                 0.00



Official Form 1061                                                Schedule I: Your Income                                                         page 1
           Case 21-57413-jwc                 Doc 15          Filed 11/12/21 Entered 11/15/21 15:25:54                           Desc Main
                                                            Document      Page 23 of 35
Debtor 1       Bilal                           Rasheed                                     Case number (if known) 21-57413-JWC
               First Name   Middle Name         Last Name



                                                                                          For Debtor 1         For Debtor 2 or
                                                                                                               non-fllinq spouse

   Copy line 4 here                                                              4 4.      $        0.00                     0.00

 5. List all payroll deductions:

    5a. Tax, Medicare, and Social Security deductions                              5a.    $                       $
    5b. Mandatory contributions for retirement plans                               5b.    $                       $
    5c. Voluntary contributions for retirement plans                               5c.    $                       $
    5d. Required repayments of retirement fund loans                               5d.    $                       $
    5e. Insurance                                                                  5e.     $                      $
     5f. Domestic support obligations                                              5f.     $                      $

     5g. Union dues                                                                5g.     $                      $

     5h. Other deductions. Specify:                                                5h. + $                     + $

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.     6.    $          0.00         $          0.00

 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.             7.    $          0.00                     0.00

 8. List all other income regularly received:
     8a. Net income from rental property and from operating a business,
         profession, or farm
         Attach a statement for each property and business showing gross
         receipts, ordinary and necessary business expenses, and the total                           0.00
         monthly net income.                                                        8a.
     8b. Interest and dividends                                                     8b.    $         0.00
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
         Include alimony, spousal support, child support, maintenance, divorce                       0.00
         settlement, and property settlement.                                  Sc.
     8d. Unemployment compensation                                                  8d.    $         0.00
     8e. Social Security                                                            8e.    $   2.400.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify:                                                                  8f.     $         0.00          $

     8g. Pension or retirement income                                               8g.

     8h. Other monthly income. Specify:                                             8h. + $          0.00       +$

 9. Add all other income. Add lines 8a + 8b + Sc + 8d + 8e + 8f +8g + 8h.           9.     $   2,400.00                       0.00

10. Calculate monthly income. Add line 7 + line 9.                                                                            0.00      $     2,400.00
                                                                                           $   2,400.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.      10.

11.State all other regular contributions to the expenses that you list in Schedule J
   Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
   friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                      11.   $

12.Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                        $      2,400.00
   Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies             12.
                                                                                                                                        Combined
                                                                                                                                        monthly income
 13.Do you expect an increase or decrease within the year after you file this form?
    tif No.
     U Yes. Explain:


Official Form 1061                                             Schedule!: Your Income                                                       page 2
                 Case 21-57413-jwc                 Doc 15       Filed 11/12/21 Entered 11/15/21 15:25:54                                   Desc Main
                                                               Document      Page 24 of 35

   Fill in this information to identify your case:

   Debtor 1           Bilal                                   Rasheed                                   Check if this is:
                      First Name             Middle Name                  Last Name

   Debtor 2                                                                                             CI An amended filing
   (Spouse, if filing) First Name             Middle Name                 Last Name
                                                                                                        CI A supplement showing postpetition chapter 13
   United States Bankruptcy Court for the: Northern District of Georgia                                    expenses as of the following date:
   Case number 21-57413-JWC                                                                                 MM / DD/ YYYY
   (If known)




 Official Form 106J
 Schedule J: Your Expenses                                                                                                                              12/15

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
 (if known). Answer every question.

  Part 1:            Describe Your Household

 1. Is this a joint case?

    g No. Go to line 2.
    0 Yes. Does Debtor 2 live in a separate household?

                 Li No
                 CI Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                 U No                                      Dependents relationship to              Dependents      Does dependent live
    Do not list Debtor 1 and                di Yes. Fill out this information for     Debtor 1 or Debtor 2                    age             with you?
    Debtor 2.                                    each dependent
                                                                                                                                              g No
    Do not state the dependents'                                                      daughter                                16
    names.                                                                                                                                    O Yes
                                                                                                                                              511 No
                                                                                      son                                     12
                                                                                                                                              O Yes

                                                                                      daughter                                10              EfNo
                                                                                                                                              O Yes
                                                                                                                                              U No
                                                                                                                                              D Yes
                                                                                                                                              U No
                                                                                                                                              O Yes

 3. Do your expenses include
    expenses of people other than
                                            RiNo
    yourself and your dependents?           U Yes

 Part 2:         Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule!: Your Income (Official Form 1061.)                                              Your expenses

  4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                               1,300.00
     any rent for the ground or lot.                                                                                    4.

      If not included in line 4:
      4a. Real estate taxes                                                                                             4a.

      4b. Property, homeowner's, or renter's insurance                                                                  4b.

      4c. Home maintenance, repair, and upkeep expenses                                                                 4c.

      4d. Homeowner's association or condominium dues                                                                   4d.

Official Form 106J                                             Schedule J: Your Expenses                                                            page 1
                 Case 21-57413-jwc             Doc 15         Filed 11/12/21 Entered 11/15/21 15:25:54                    Desc Main
                                                             Document      Page 25 of 35

 Debtor 1         Bilal                         Rasheed                                  Case number (if known) 21-57413-JWC
                  First Name   Middle Name       Last Name




                                                                                                                  Your expenses


 5. Additional mortgage payments for your residence, such as home equity loans                             5.

 6. Utilities:
      6a. Electricity, heat, natural gas                                                                   6a.    $               200.00
      6b. Water, sewer, garbage collection                                                                 6b.    $                65.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                                   6c.    $
      6d. Other. Specify:                                                                                  6d.    $                 0.00
 7. Food and housekeeping supplies                                                                         7.                     600.00

 8. Childcare and children's education costs                                                               8.                     200.00
 9. Clothing, laundry, and dry cleaning                                                                    9.                      50.00
io. Personal care products and services                                                                    10.    $               100.00
11. Medical and dental expenses                                                                            11.    $               125.00
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                                  250.00
    Do not include car payments.                                                                           12.

13. Entertainment, clubs, recreation, newspapers, magazines, and books                                     13.    $                 0.00
14. Charitable contributions and religious donations                                                       14.    $                80.00
15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                  15a.   $                 0.00
      15b. Health insurance                                                                                15b.   $                 0.00
      15c. Vehicle insurance                                                                               15a    $                80.00
      15d. Other insurance. Specify:                                                                       15d.   $

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                             is.

17. Installment or lease payments:

      17a. Car payments for Vehicle 1                                                                      17a.   $

      17b. Car payments for Vehicle 2                                                                      17b.   $

      17c. Other. Specify'                                                                                 17c.   $
      17d. Other. Specify:                                                                                 17d.   $

18. Your payments of alimony, maintenance, and support that you did not report as deducted from
    your pay on line 5, Schedule!, Your Income (Official Form 1061).                                        18.   $

19. Other payments you make to support others who do not live with you.
      Specify:                                                                                              19.   $

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule!: Your Income.

      20a. Mortgages on other property                                                                     20a.

      20b. Real estate taxes                                                                               20b.
      20c. Property, homeowner's, or renter's insurance                                                    20c.
      20d. Maintenance, repair, and upkeep expenses                                                        20d.
      20e. Homeowner's association or condominium dues                                                     20e.



Official Form 106J                                           Schedule J: Your Expenses                                              page 2
                  Case 21-57413-jwc               Doc 15         Filed 11/12/21 Entered 11/15/21 15:25:54                        Desc Main
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 Debtor 1          Bilal                           Rasheed                                    Case number Of known)   21-57413-JWC
                   First Name    Middle Name        Last Name




21.       Other. Specify:                                                                                             21.   +$



22.    Calculate your monthly expenses.

       22a. Add lines 4 through 21.                                                                               22a.               3,050.00
       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                       22b.

       22c.Add line 22a and 22b. The result is your monthly expenses.                                             22c.               3,050.00



23. Calculate your monthly net income.
                                                                                                                                     2,400.00
      23a.     Copy line 12 (your combined monthly income) from Schedule I.                                       23a.

      23b.     Copy your monthly expenses from line 22c above.                                                    23b.       $       3,050.00

      23c.     Subtract your monthly expenses from your monthly income.
                                                                                                                                      -650.00
               The result is your monthly net income.                                                             23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      g     No.
      U Yes.         Explain here:




Official Form 106J                                              Schedule J: Your Expenses                                                page 3
                   Case 21-57413-jwc                  Doc 15       Filed 11/12/21 Entered 11/15/21 15:25:54                           Desc Main
                                                                  Document      Page 27 of 35

Fill in this information to identify your case:

Debtor 1          Rilal                                      Raghaari
                   First Name                Middle Name               Last Name

Debtor 2
(Spouse, If filing) First Name              Middle Name                Last Name


United States Bankruptcy Court for the: Northern District of Georgia
Case number          21-57413-JWC                                                                                                         U Check if this is an
 (If known)                                                                                                                                 amended filing




  Official Form 108
  Statement of Intention for Individuals Filing Under Chapter 7                                                                                         12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
  • creditors have claims secured by your property, or
  •   you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

    Part 1:         List Your Creditors Who Have Secured Claims

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.

           Identify the creditor and the property that Is collateral                What do you intend to do with the property that   Did you claim the property
                                                                                    secures a debt?                                   as exempt on Schedule C?

         Creditor's                                                                U Surrender the property.                          U No
         name:      Mr. Cooper
                                                                                   U Retain the property and redeem it.               Ri Yes
         Description of
                        Single Family Home                                         U Retain the property and enter into a
         property
         securing debt: 4523 Boxwood Trail                                           Reaffirmation Agreement.
                                 Ellenwood, GA                                     El Retain the property and [explain]:



         Creditor's                                                                U Surrender the property.                          U No
         name:
                                                                                   U Retain the property and redeem it.               U Yes
         Description of
         property                                                                  U Retain the property and enter into a
         securing debt:                                                              Reaffirmation Agreement.
                                                                                   U Retain the property and [explain]:



         Creditor's                                                                U Surrender the property.                          U No
         name:
                                                                                   U Retain the property and redeem it.               U Yes
         Description of
                                                                                   U Retain the property and enter into a
         property
         securing debt:                                                              Reaffirmation Agreement.
                                                                                   U Retain the property and [explain]:



         Creditor's                                                                U Surrender the property.                          U No
         name:
                                                                                   U Retain the property and redeem it.               U Yes
         Description of
         property                                                                  U Retain the property and enter into a
         securing debt:                                                              Reaffirmation Agreement.
                                                                                   U Retain the property and [explain]:



  Official Form 108                              Statement of Intention for Individuals Filing Under Chapter 7                                 page 1
              Case 21-57413-jwc                       Doc 15        Filed 11/12/21 Entered 11/15/21 15:25:54                             Desc Main
                                                                   Document      Page 28 of 35
 Debtor 1          Bile!                               Rasheed                                    Case number   (If known)   21-57413-JWC
                   First Name          Middle Name     Last Name




   Part 2:         List Your Unexpired Personal Property Leases

   For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
   fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
   ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

        Describe your unexpired personal property leases                                                                       Will the lease be assumed?

       Lessor's name:                                                                                                         U No
                                                                                                                              U Yes
       Description of leased
       property:


       Lessor's name:                                                                                                         Li No
                                                                                                                              U Yes
       Description of leased
       property:


       Lessor's name:                                                                                                         U No

       Description of leased                                                                                                  U Yes
       property:


       Lessor's name:                                                                                                          U No
                                                                                                                               U Yes
       Description of leased
       property:


       Lessor's name:                                                                                                          U No
                                                                                                                               U Yes
       Description of leased
       property:


       Lessor's name:                                                                                                         U No
                                                                                                                              U Yes
       Description of leased
       property:


       Lessor's name:                                                                                                         U No
                                                                                                                              U Yes
       Description of leased
       property:




  Part 3:          Sign Below



     Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
     personal property that is subject t n unexpired lease.




       Signature of Debtor 1                                            Signature of Debtor 2

      Date//        /5                                                  Date
             MM/     DD     /   YYYY                                           MM/   DO!   YYYY




Official Form 108                                    Statement of Intention for Individuals Filing Under Chapter 7                             page 2
               Case 21-57413-jwc                Doc 15        Filed 11/12/21 Entered 11/15/21 15:25:54                             Desc Main
                                                             Document      Page 29 of 35

 Fill in this information to identify your case:

 Debtor 1          Bilal                                   Rasheed
                    First Name             Middle Name                  Last Name

 Debtor 2
 (Spouse, if filing) First Name            Middle Name                  Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number         21-57413-JWC                                                                                                   U Check if this is an
                     (If known)                                                                                                       amended filing




Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                           12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


               Summarize Your Assets


                                                                                                                                 Your assets
                                                                                                                                 Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                     $     225,000.00
    l a. Copy line 55, Total real estate, from Schedule A/B


    lb. Copy line 62, Total personal property, from Schedule A/B                                                                               3,520.00

    lc. Copy line 63, Total of all property on Schedule A/B                                                                          $     228,520.00


               Summarize Your Liabilities



                                                                                                                                  Your liabilities
                                                                                                                                  Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                     $     186,000.00
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                     0.00
    3a.Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F

    3b.Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F                                                 0.00
                                                                                                                                  + $


                                                                                                        Your total liabilities              186,000.00



               Summarize Your Income and Expenses


4. Schedule!: Your Income (Official Form 1061)
                                                                                                                                               2,400.00
    Copy your combined monthly income from line 12 of Schedule I

5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J
                                                                                                                                               3,050.00




Official Form 106Sum                       Summary of Your Assets and Liabilities and Certain Statistical Information                      page 1 of 2
                Case 21-57413-jwc                Doc 15         Filed 11/12/21 Entered 11/15/21 15:25:54                              Desc Main
                                                               Document      Page 30 of 35
   Debtor 1       Bilal                            Rasheed                                         Case number (if known)   21-57413-JWC
                 First Name      Middle Name       Last Name




                Answer These Questions for Administrative and Statistical Records

    6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

       0 No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
       El Yes


    7. What kind of debt do you have?

       2i Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

       CI Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.



    8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
       Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                     1,800.00




    9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                            Total claim


        From Part 4 on Schedule B/F, copy the following:


       9a.Domestic support obligations (Copy line 6a.)                                                                         0.00

       9b.Taxes and certain other debts you owe the government. (Copy line 6b.)                                                0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                                     0.00

       9d.Student loans. (Copy line 6f.)                                                                                       0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as                             0.00
           priority claims. (Copy line 6g.)

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)           +$                     0.00

       9g. Total. Add lines 9a through 9f.                                                                                     0.00




Official Form 106Sum      Summary of Your Assets and Liabilities and Certain Statistical Information                                       page 2 of 2
                   Case 21-57413-jwc                 Doc 15     Filed 11/12/21 Entered 11/15/21 15:25:54                                             Desc Main
                                                               Document      Page 31 of 35
Fill in this information to identify your case:


Debtor 1           Bilal                                  Rasheed
                   First Name               Middle Name                Last Name

Debtor 2
(Spouse, if filing) First Name              Middle Name                Last Name


United States Bankruptcy Court for the: Northern District of Georgia

Case number          21-57413-MC
(If known)
                                                                                                                                                       U   Check if this is an
                                                                                                                                                           amended filing



  Official Form 106Dec
  Declaration About an Individual Debtor's Schedules                                                                                                                 12/15


  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




                    Sign Below



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

             No
       U     Yes. Name of person                                                                 . Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                                  Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




         Signature of Debtor 1                                            Signature of Debtor 2


         Date
                MM/     DD
                           05, 20/
                                 /   YYYY
                                                                          Date
                                                                                   MM!   DD /   YYYY




  Official Form 106Dec                                     Declaration About an Individual Debtor's Schedules
               Case 21-57413-jwc                  Doc 15       Filed 11/12/21 Entered 11/15/21 15:25:54                                  Desc Main
                                                              Document      Page 32 of 35
  Fill in this information to identify your case:                                                       Check one box only as directed in this form and in
                                                                                                        Form 122A-1Supp:
 Debtor 1         Bilal                                                 Rasheed
                    First Name               Middle Name                Iant Name
                                                                                                       U 1. There is no presumption of abuse.
 Debtor 2
 (Spouse, If filing) First Name              Middle Name                Last Name                      U 2. The calculation to determine if a presumption of
                                                                                                            abuse applies will be made under Chapter 7
 United States Bankruptcy Court for the: Northern District of Georgia
                                                                                                            Means Test Calculation (Official Form 122A-2).
 Case number         21-57413-JWC                                                                      U 3. The Means Test does not apply now because of
  (If known)
                                                                                                            qualified military service but it could apply later.


                                                                                                        U Check if this is an amended filing


Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                            10/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

   Part 1:         Calculate Your Current Monthly Income

   1. What is your marital and filing status? Check one only.
       U Not married. Fill out Column A, lines 2-11.
       U Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

       U Married and your spouse is NOT filing with you. You and your spouse are:
                    Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                    Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                    under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                    spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).
       Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
       bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
       August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
       Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
       income from that property in one column only. If you have nothing to report for any line, write $0 in the space.

                                                                                                         Column A            Column B
                                                                                                         Debtor 1            Debtor 2 or
                                                                                                                             non-filing spouse
   2. Your gross wages, salary, tips, bonuses, overtime, and commissions
      (before all payroll deductions).                                                                    $        0.00        $
   3. Alimony and maintenance payments. Do not include payments from a spouse if
      Column B is filled in.
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.
  5. Net income from operating a business, profession,
     or farm                                                            Debtor 1    Debtor 2
     Gross receipts (before all deductions)
       Ordinary and necessary operating expenses                    — $             —$
       Net monthly income from a business, profession, or farm                                 Copy
                                                                                                here+     $
  6. Net income from rental and other real property                     Debtor 1    Debtor 2
     Gross receipts (before all deductions)
       Ordinary and necessary operating expenses                    — $             —$
       Net monthly income from rental or other real property                                   Copy
                                                                                               here4      $
  7. Interest, dividends, and royalties



Official Form 122A-1                           Chapter 7 Statement of Your Current Monthly Income                                                    page 1
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Debtor 1        Bilal                                             Rashee                      Case number (if known)   21-57413-JWC
                First Name    Middle Name        Last Name



                                                                                                   Column A                Column B
                                                                                                   Debtor 1                Debtor 2 or
                                                                                                                           non-Ming spouse
   8. Unemployment compensation
       Do not enter the amount if you contend that the amount received was a benefit
       under the Social Security Act. Instead, list it here:
            For you
            For your spouse
   9. Pension or retirement Income. Do not include any amount received that was a
      benefit under the Social Security Act. Also, except as stated in the next sentence, do
      not include any compensation, pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If you received any retired
      pay paid under chapter 61 of title 10, then include that pay only to the extent that it
      does not exceed the amount of retired pay to which you would otherwise be entitled if
      retired under any provision of title 10 other than chapter 61 of that title.
   10.Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act; payments received
      as a victim of a war crime, a crime against humanity, or international or domestic
      terrorism; or compensation, pension, pay, annuity, or allowance paid by the United
      States Government in connection with a disability, combat-related injury or disability, or
      death of a member of the uniformed services. If necessary, list other sources on a
      separate page and put the total below.
                                                                                                    $                        $
                                                                                                    $                        $
           Total amounts from separate pages, if any.                                              +$                      +$
                                                                                                        ----
   11. Calculate your total current monthly income. Add lines 2 through 10 for each
       column. Then add the total for Column A to the total for Column B.                          rs                                   —I = $            1,800.00
                                                                                                                                                     Total current
                                                                                                                                                     monthly income

   Part 2:       Determine Whether the Means Test Applies to You

   12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11                                                        copy line 11 here.    [   $      1,866.00      1

               Multiply by 12 (the number of months in a year).                                                                                  X  12
       12b. The result is your annual income for this part of the form.                                                               12b.   [   $ 21 600.00 j

   13. Calculate the median family income that applies to you. Follow these steps:

      Fill in the state in which you live.

      Fill in the number of people in your household.

      Fill in the median family income for your state and size of household.                                                          13.        s_   91,476.00
      To find a list of applicable median income amounts, go online using the link specified in the separate
      instructions for this form. This list may also be available at the bankruptcy clerk's office.


   14. How do the lines compare?


      14a. 10 Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
              Go to Part 3.



      14b. U      Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                  Go to Part 3 and fill out Form 122A-2.




Official Form 122A-1                         Chapter 7 Statement of Your Current Monthly Income                                                       page 2
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Debtor 1     Bilal                                                     RasheeA                     Case number (if known)   21-57413-JWC
             First Name          Middle Name          Last Name



               Sign Below

              By s'             ere, I d clare unde    enalty of per   that the information on this statement and in any attachments is true and correct.




                          nature of Debtor 1                                                      Signature of Debtor 2

                  Date       11,05,2_0)4
                            MM! DD       / YYYY
                                                                                                  Date
                                                                                                         MM! DD      / YYYY

                   If you checked line 14a, do NOT fill out or file Form 122A-2.

                   If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                              Chapter 7 Statement of Your Current Monthly Income                                                page 3
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